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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 2018-CIV-62311-COOKE/HUNT


 FRANK DELGADO,

        Plaintiff,

 v.

 PIKE ELECTRIC, LLC,

        Defendant.
                                      /

                DEFENDANT’S CORPORATE DISCLOSURE STATEMENT

        Defendant, Pike Electric, LLC, pursuant to Fed. R. Civ. P. 7.1, hereby submits the

 following Corporate Disclosure Statement and states:

        The sole member of Pike Electric, LLC is Pike Enterprises, LLC. There is no publicly

 held corporation that owns more than 10% of Pike Electric, LLC.
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 Dated: September 28, 2018

                                           Respectfully submitted,

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                                           s/ Paul J. De Boe
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                                           Counsel for Defendant, Pike Electric, LLC




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 28, 2018, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on all counsel of record or pro se parties identified on the attached

 Service List in the manner specified, either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.


                                                       s/ Paul J. De Boe
                                                       Paul J. De Boe




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                                     SERVICE LIST
                           Frank Delgado v. Pike Electric, LLC
                 United States District Court, Southern District of Florida
                       Case No. 2018-CIV-62311-COOKE/HUNT



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